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                         In The Matter Of:
                         Marquis Tillman vs.
                         Clarke County, et al.




                          Marquise Tillman
                          August 20, 2021




                                                   A


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                 ORAL DEPOSITION OF MARQUISE TILLMAN
14                                                                14
15                                                                15
              Taken at the instance of the Defendants on
16         Friday, August 20, 2021, in the Winston-Choctaw        16
          County Regional Correctional Facility, 2460 MS-25,
17         Louisville, Mississippi, beginning at 10:11 a.m.       17
18                                                                18
19                                                                19
                       (Appearances noted herein)
20                                                                20
21                                                                21
22                                                                22
     REPORTED BY:       Kelly D. Brentz, CSR-MS, CSR-TX, RPR
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                         338 Indian Gate Circle
24                       Ridgeland, Mississippi 39157             24
                         kelly@awreporting.com
25                       601-573-0961                             25

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 1                           APPEARANCES:
                                                                   1               MARQUISE TILLMAN,
 2
                                                                   2    having first been duly sworn, was examined and
 3
                                                                   3    testified as follows, to-wit:
 4         JUSTIN SMITH, ESQ.
           The Cochran Firm- MS Delta                              4 EXAMINATION BY MS. MALONE:
 5         Post Office Box 1487
           Grenada, Mississippi 38902                              5    Q. Mr. Tillman, my name is Jessica Malone. I'm a
 6         mwiley@cochranfirm.com
                                                                   6 lawyer and I represent Clarke County, Sheriff Kemp and
 7                                                                 7 Sheriff Kemp's county deputies that were involved in the
 8                       COUNSEL FOR PLAINTIFF                     8 pursuit and your arrest. And as far as I can tell from my
 9                                                                 9 records, that took place on March 21, 2019; is that right?
10                                                                10    A. Correct.
           JESSICA S. MALONE, ESQ.
11         Allen, Allen, Breeland and Allen, PLLC                 11    Q. Okay. Have you ever given a deposition before?
           214 Justice Street
12         Brookhaven, Mississippi 39601                          12    A. No, ma'am.
           jmalone@aabalegal.com
13                                                                13    Q. Okay. Have you ever testified in court before?
14                       COUNSEL FOR DEFENDANTS                   14    A. No, ma'am.
15                                                                15    Q. Okay. Well, the court reporter just swore you
16                                                                16 in, so you're under oath just as you will be at trial when
17                                                                17 you take the stand.
18                                                                18         I will tell you that sometimes I'm not the best
19                                                                19 at asking questions. I might ask a crazy question, and if
20                                                                20 I do, just let me know that you don't understand the
21                                                                21 question and I will rephrase and try to ask a better
22                                                                22 question.
23                                                                23         We have to talk out loud, so "yes" and "no"
24                                                                24 instead of head nods, because she is taking everything we
25                                                                25 say down into a transcript. And then, should you need a


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 1   break at any time, let me know.                             1     A. Yes, I took a plea.
 2         And at some point, Mr. Smith, your attorney who       2     Q. Okay. Who was your attorney at the time?
 3   is here today, may object to something. Unlike a            3     A. Kathy McNair.
 4   courtroom, where a judge would decide if you answer or      4     Q. And was that guilty plea taken in Clarke County
 5   not, for the purposes of today, you can answer the          5   Circuit Court?
 6   question if you know the answer unless Mr. Smith tells you  6     A. Yes, correct.
 7   not to; okay?                                               7     Q. All right. Mr. Tillman, where are you from?
 8          And then any question I might ask about              8     A. Quitman, Mississippi.
 9   conversations that you have had concerning the lawsuit, I   9     Q. And that's in Clarke County; correct?
10   don't mean conversations you have had with your lawyers 10        A. Correct.
11   because I know those are private and confidential; okay? 11       Q. Are you married?
12          All right. Could you state your full name for 12           A. No, I am not.
13   the record?                                                13     Q. Have you ever been married?
14     A. Yes, Marquise Tillman.                                14     A. No, ma'am.
15     Q. Do you have a middle name, Mr. Tillman?               15     Q. Who are your parents?
16     A. Yes, Marquise Terrell Tillman.                        16     A. Debbie Tillman and Matthew Connor.
17     Q. Have you ever gone by any other names?                17     Q. And where do they live?
18     A. No, just my name, Marquise Tillman.                   18     A. Matthew is deceased. He died like two months
19     Q. Okay. What's your date of birth?                      19   ago. My mama lives in Quitman.
20     A. 8/24/87.                                              20     Q. I'm sorry to hear that. Do you have any
21     Q. So that makes you how old?                            21   children?
22     A. Thirty-three.                                         22     A. Yes, I have three little girls.
23     Q. And obviously you're incarcerated because we are 23          Q. Oh, goodness. I have a little girl, too.
24   here today at the Winston County Regional Correctional 24       They're a lot of fun. Any of those children over the age
25   Facility. What sentence are you serving out here? 25            of 18?

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 1     A. Aggravated assault.                                    1     A. No.
 2     Q. How many years were you sentenced to for that          2     Q. And other than Tillman and Connors, are there
 3   charge?                                                     3   any other family -- any other family names in that Clarke
 4     A. Twelve years.                                          4   County area of folks you're related to, last names?
 5     Q. And you have served about how long so far?             5        If you don't know, that's fine. But I will tell
 6     A. Probably a quarter of it.                              6   you why I'm asking. We're going to go to trial and your
 7     Q. And am I correct that that ag. assault charge          7   attorneys are going to get to pick a jury and I'm going to
 8   arose out of the events on March 21, 2019? In other         8   get to --
 9   words, were you charged as a result of your arrest by       9     A. Yes.
10   Clarke County on March 21, 2019?                           10     Q. -- help pick a jury, and you don't want a bunch
11     A. Correct.                                              11   of Malones on the jury in case they're related to me;
12     Q. Do you know about when you were sentenced?            12   right? So we don't want a bunch of Tillmans from Clarke
13     A. December 19, 2019.                                    13   County in case they're your family on the jury either.
14     Q. Were there other charges that resulted from the       14    A. Wallaces.
15   March 21st arrest?                                         15    Q. All right. Anybody else?
16     A. Yes.                                                  16    A. Davis.
17     Q. What were those?                                      17    Q. All right. Wallaces, Davises, Tillmans,
18     A. Felony eluding.                                       18   Connors. Anybody else?
19     Q. Felony eluding, okay.                                 19    A. No, ma'am.
20     A. Possession of a firearm.                              20    Q. Okay. How far did you go in school?
21     Q. And from what I can gather, those other two           21    A. Ninth.
22   charges were dismissed?                                    22    Q. And where did you attend ninth grade?
23     A. Correct.                                              23    A. Quitman High School.
24     Q. Did you plead guilty to the aggravated assault        24    Q. Lived any other place other than Quitman?
25   charge?                                                    25    A. No, ma'am.

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 1     Q. Since Quitman High School, have you completed           1    Q. And just for the record, Ben Ivy is a Clarke
 2   any GED programs?                                            2   County sheriff's deputy?
 3     A. No, ma'am.                                              3    A. Yes.
 4     Q. Were you working in March of 2019?                      4    Q. And after he passed you, what did he do?
 5     A. No, ma'am.                                              5    A. I went right across to the store. He looped
 6     Q. Prior to this aggravated assault charge, had you        6   around in the Sunflower parking lot and just sat there and
 7   had any other criminal charges?                              7   watched me.
 8     A. Yes, ma'am.                                             8    Q. He watched you from the Sunflower parking lot?
 9     Q. What were those?                                        9    A. From like an area off in there behind the
10     A. Selling cocaine.                                       10   drugstore -- the drugstore and the Sunflower. The grocery
11     Q. And that was out of where?                             11   store is like combined together, so they have different
12     A. West Virginia.                                         12   open space where you can park and see the main highway and
13     Q. Were you convicted of that charge?                     13   across to the stores.
14     A. Yes, as well as conspiracy to distribute               14      Q. Okay. And then what happened right after that?
15   cocaine.                                                    15      A. I stayed in my car. I called somebody and I was
16     Q. Did you serve any time for those charges?              16   like, "Ben just turned around and he over there parked
17     A. Yes.                                                   17   across by Sunflower. I don't know what he on."
18     Q. About how much?                                        18          So I went on across -- I put the car back in
19     A. Like altogether, I probably served about a             19   drive and went across to the other store, which is the new
20   quarter of that -- about two and a half years.              20   store we have across from Sunflower and the drugstore;
21     Q. Any other charges prior to that?                       21   that's when he pulled off and just went his way.
22     A. No.                                                    22     Q. Did he turn his lights on or siren on?
23     Q. All right. I want to talk about March 21, 2019,        23     A. Not at that moment.
24   and let's just start with what time did your day start on   24     Q. So at that point, he was not trying to pull you
25   March 21st?                                                 25   over?

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 1     A. Approximately 1:30.                                     1     A. No.
 2     Q. 1:30 p.m.?                                              2     Q. All right. So you went across to the new store.
 3     A. Yes.                                                    3   What store is that?
 4     Q. What were you doing that day?                           4     A. I want to say Go Mart.
 5     A. I was leaving Sunflower, the grocery store,             5     Q. Go Mart?
 6   picking up a Western Union.                                  6     A. I don't recall for sure.
 7     Q. You were picking up some money from Western             7     Q. Sure. And then after you went over to Go Mart,
 8   Union?                                                       8   where did you head to?
 9     A. Yes.                                                    9     A. I went in the store, paid for 13 dollars' worth
10     Q. What was the money for?                                10   of gas and bought a pack of Kool cigarettes.
11     A. Do I have to answer that? Kids.                        11     Q. And after you went to Go Mart, where did you
12     Q. Kids? Okay. So you're leaving Sunflower about          12   head after that?
13   1:30 p.m., and that is where exactly? Where is that         13     A. I came out the store, pumped the gas, threw the
14   grocery store located?                                      14   cigarettes on the passenger's side seat, got back in the
15     A. Probably less than a half mile from the                15   car, fastened my seatbelt, pulled out the store, made it
16   sheriff's department.                                       16   to -- back to the stop for the red light. That's when I
17     Q. All right. And then after you left Sunflower,          17   went uptown. That's when I seen Ben passing like three,
18   where did you go?                                           18   four cars to get to me.
19     A. I fastened my seatbelt -- got in my car,               19     Q. Okay. So you saw him a second time?
20   fastened my seatbelt, pulled out of Sunflower.              20     A. Correct.
21     Q. Okay. And then what?                                   21     Q. And he passed three or four cars to get to you.
22     A. I made it to the red light.                            22   Did he have lights and sirens on then?
23     Q. What happened at the red light?                        23     A. Yes, correct.
24     A. That's when Ben Ivy passed me -- he turned in,         24     Q. And then what did you do?
25   passed me at the red light.                                 25     A. I went on up towards town. I made a left at the

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 1   Shell Station, the last store after you're coming out of      1         And that's when I just said, "I'm not going down
 2   Quitman before you get ready to go up towards 45 to get on    2   there. I'm just going -- he's just got to catch me."
 3   the four-lane. I took a left, stopped the car, put it in      3     Q. All right. So did he have blue lights on?
 4   park.                                                         4     A. He was hitting the siren noise.
 5         That's when he came to the car. Before he got           5     Q. So you knew he was trying to pull you over, in
 6   ready to come to the car, I was like, "What's" -- he said     6   other words?
 7   something. I'm like, "What's going on, Ben?"                  7     A. (Nodded.)
 8         He was like, "You know what's going on." By             8     Q. Is that a "yes"?
 9   then, I was like, "No, I don't." I said, "Well, I'm           9     A. Yes.
10   fixing to pull up here. There goes my dad."                  10     Q. And where did you head after he turned his siren
11         That's when I seen my dad turning in by the stop       11   on?
12   sign and I'm fixing to pull up here by my dad. That's        12     A. Went -- come down Thompson Avenue, went across
13   when everything initially started, the chase.                13   the back -- went across the main highway, went up
14     Q. Okay. So he said, "You know what's going on."           14   towards -- which is the Head Start and by the ballpark,
15   You were going to pull up by your dad. What were you         15   the complex, and I took a left which brought me back on
16   driving that day?                                            16   the back road, which we call the Radio Station Road.
17     A. I think a 2019 Nissan Sentra.                           17        And that brung me out towards the main highway
18     Q. Was that your car?                                      18   by what we call the Quail Run Apartments. That will lead
19     A. Rental car with a Texas license plate.                  19   you up to 45 and take you to the four-lane like going
20     Q. Where did you rent that car from?                       20   towards Meridian, Mississippi.
21     A. My fiancee rented it for me.                            21     Q. Okay. And Ben Ivy was still behind you?
22     Q. Who was your fiancee at the time?                       22     A. Correct.
23     A. Felicia McBride.                                        23     Q. Anybody else pursuing you at that point other
24     Q. Any particular reason why you needed a rental           24   than Ben?
25   car that day?                                                25     A. No, just Ben behind me at that point.

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 1     A. That's how I was getting around, didn't have my   1            Q. Did you see any other officers in Ben's car?
 2   own vehicle.                                           2            A. No, but I seen them coming.
 3     Q. Okay. So did you ever pull up and talk with       3            Q. Okay. So some other officers joined the pursuit
 4   your dad?                                              4          at some point?
 5     A. Yes, I actually stopped at the stop sign.         5            A. Correct.
 6     Q. And what did you and your dad discuss?            6            Q. Do you know who those officers were?
 7     A. I told him that -- to turn around and follow me   7            A. Ben -- it was Ben Ivy, Anthony Chancelor, Joey
 8   to his house because Ben's behind me messing with me.  8          Mosley (sic). I can't recall his name. He's chief of
 9     Q. So you knew who Ben Ivy was?                      9          police right now for the City of Quitman.
10     A. Everybody does.                                  10            Q. Okay. So in addition to Clarke County -- in
11     Q. How did you know Ben Ivy?                        11          addition to Clarke County Sheriff's Department pursuing
12     A. He done did so much -- like he did so much to 12             you, the chief of police for Quitman was involved, too?
13   people. He -- everybody know him.                     13            A. Yes, correct.
14     Q. Had he ever arrested you before?                 14            Q. And at this point, where are you and what
15     A. No, he hadn't.                                   15          direction are you headed in?
16     Q. I mean, did you have any sort of personal        16            A. I'm headed towards 45, the four-lane.
17   disagreement with Ben Ivy at the time?                17            Q. Did you get onto 45?
18     A. No.                                              18            A. Yes, I got onto the main -- the four-lane.
19     Q. All right. So you asked your dad to follow you. 19             Q. About how fast were you going?
20   And then what happened?                               20            A. Anywhere from 90 to 100, 108 miles per hour.
21     A. That's when I went on up. My dad turned around 21              Q. And earlier you said you didn't want to pull
22   like he was turning around in the church, which is    22          over because you were scared of Ben, but at some point,
23   Chaparral Baptist Church, so that's when Ben kept on 23           with all these other officers and all these other
24   following me. Then the siren, and I was just -- I got 24          potential, you know, witnesses, I guess, you know, what
25   scared. I'm scared of -- I'm pretty scared of him.    25          made you decide to keep -- to keep going?

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 1     A. Because he's known for doing stuff. He's known           1   chase -- about a 20-minute chase.
 2   for just doing straight dirty deeds. I was just pretty        2     Q. And where did it come to an end?
 3   scared of him. Everybody know him. I'm scared of him and      3     A. When they started ramming me.
 4   that's that. I didn't know what his motive was.               4     Q. Okay. And who rammed you?
 5     Q. So when y'all had that brief talk when he first          5     A. Joey Mosley and a Lauderdale County police --
 6   pulled up beside you, he didn't tell you why he was           6   deputy sheriff's Charger was waiting up on 45, so when I
 7   looking for you?                                              7   busted a left to get back onto the other side of the
 8     A. No, ma'am.                                               8   four-lane, that's when they rammed me.
 9     Q. Did you ever find out why he was pursuing you?           9     Q. Do you know whose car struck yours?
10     A. In the motion discovery (sic), it said he got an        10     A. First, it was Joey Mosley's, which is Enterprise
11   anonymous tip from a female, which didn't give their name,   11   chief deputy of police.
12   said I was wanted by the U.S. Marshal, which was wrong,      12     Q. Enterprise, Mississippi?
13   which was a false accuse (sic). I was never wanted by the    13     A. Yes.
14   U.S. Marshall at the time, and said I had an AR-15 on me.    14     Q. So he does not work for Clarke County?
15     Q. Did you have an AR-15 on you?                           15     A. No, he works for Enterprise. He have worked for
16     A. No, I did not.                                          16   police in narcotics.
17     Q. Did you have any firearms on you?                       17     Q. Okay. So Joey Mosley -- are you saying Mosley?
18     A. No, I did not.                                          18     A. Uh-huh.
19     Q. Earlier I think we -- did we talk about a felony        19     Q. Okay. He made contact -- his patrol car made
20   in possession of a firearm charge earlier?                   20   contact with your Sentra. Then what happened?
21     A. That's correct. It wasn't mine.                         21     A. It made me make contact with Anthony Chancelor.
22     Q. Okay. Whose was it?                                     22     Q. Okay. Knocked you into Chancelor?
23     A. I don't know. It was a rental car.                      23     A. That's correct.
24     Q. So there was just a firearm left in the rental          24     Q. Did you recognize Anthony Chancelor?
25   car?                                                         25     A. Correct.

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 1     A. I guess. They said they found a firearm. I               1     Q. And what happened after you struck Deputy
 2   never seen the gun, never seen nothing -- on my motion        2   Chancelor's car?
 3   discovery, it wasn't never sent to the crime lab. I have      3     A. My car was still maintained and still be placed
 4   nothing stating that they took it to a crime lab, never       4   on the highway, and I hit the gas, scared to death, and
 5   seen the gun in person.                                       5   that's when Joey Mosley speeded up and the rest of the
 6          I asked the lawyer to show me all that. I've           6   polices and they cut across the grass and stuff from the
 7   never seen it. In fact, they never showed me nothing.         7   four-lane. That's when Joey Mosley got beside me and
 8   I'm just going on what they stated they found.                8   started ramming his Charger into me.
 9      Q. Okay.                                                   9     Q. All right. So Joey Mosley with Enterprise PD
10      A. A firearm.                                             10   struck you a second time?
11      Q. Do you even know what kind of firearm was              11     A. Yes, correct.
12   recovered from that car?                                     12     Q. And then what happened?
13      A. In the motion discovery, I think they said it          13     A. Then after that, Anthony Chancelor came -- I
14   was a Taurus.                                                14   picked the rate of speed back up, and Anthony Chancelor
15      Q. Okay. And I'm not familiar with guns. Is that          15   came and did like a maneuver pick from the -- hit me real
16   a handgun?                                                   16   hard from the back and made me spin out of control and
17      A. I assume so.                                           17   lose control.
18      Q. But you weren't aware that it was in the car?          18     Q. And where did the car come to a stop?
19      A. Correct.                                               19     A. On 45.
20      Q. All right. So the pursuing you on Highway 45,          20     Q. And you were headed in what direction?
21   about how long did that chase last?                          21     A. Like going back towards Quitman.
22      A. Probably about --                                      22     Q. And what part of the highway did you come to a
23      Q. And you can tell me in terms of time or miles.         23   stop on?
24   It matters not to me.                                        24     A. The right side.
25      A. Probably was 15 to -- say a 20- to 25-minute           25     Q. Were you on the shoulder?

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 1     A. Like right towards the grass, like off -- like           1   ground?
 2   right off from the road a little bit.                         2     A. Yes, immediately, I got out with my hands in the
 3     Q. Okay. Was your car, I guess, damaged at that             3   air, which was Anthony -- which if -- which the camera
 4   point?                                                        4   will show that; Ben, right here on the side of the
 5     A. No, it wasn't nothing wrong with it until Ben            5   driver's side door; Anthony Chancelor's Tahoe was behind
 6   Ivy rammed -- his Dodge truck rammed the driver's side        6   me all the way up towards my trunk, so -- and then the
 7   door.                                                         7   other trucks and cars that's like on the front of the --
 8     Q. Okay. So you come to a stop --                           8   on the front of the -- in the front part beside the one
 9     A. Correct.                                                 9   all on the interstate. So all cameras should see that,
10     Q. -- in the grass on the right side of 45, and            10   soon as I get out the passenger's side of the car, my
11   what happened right after that?                              11   hands immediately was in the air and I laid straight down
12     A. Ben Ivy rammed his truck into the driver's side         12   on my stomach.
13   door.                                                        13          Then I said -- when I laid down, I said, "I
14     Q. Is Ben Ivy's truck a sheriff's department truck?        14   can't really breathe." That's when Ben come running
15     A. It was a Dodge.                                         15   around and Anthony Chancelor, and they was like, "You son
16     Q. What color?                                             16   of a bitch." That's when they started beating me -- they
17     A. Blue.                                                   17   put me in handcuffs and started beating me.
18     Q. Did it look like a personal truck or could you          18     Q. Okay. So let's kind of walk this back. Who's
19   see his sheriff's department --                              19   the first person that came up on you after you laid down
20     A. It didn't have no sheriff on it. It's got a             20   on the ground?
21   light and it just light up like a Christmas tree.            21     A. If I can recall, it was like all three of them:
22     Q. Okay. Were you hit when his car struck yours --         22   Joey Mosley, Anthony Chancelor and Ben Ivy.
23   when his truck struck your driver's side door?               23     Q. And they said, "You son of a bitch"?
24     A. I actually jumped out on the passenger's side.          24     A. Yeah. They placed me in handcuffs first.
25   I had a cast on my right leg, so when I got out on the       25     Q. Who put you in handcuffs?

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 1   passenger's side, I immediately raised my hands up in the     1    A. I can't recall because I'm facedown on my face
 2   air and laid straight down on the ground, like                2   with my hands stretched out in front of me. I'm laid
 3   immediately, saying, "I surrender."                           3   down, so I can't really even recall which one placed the
 4          But before -- before -- right when Ben hit the         4   cuffs on me.
 5   truck, that's when -- before he -- right when Ben hit the     5     Q. So they weren't behind your back?
 6   truck, as I'm getting out the car on the passenger's side,    6     A. They was behind my back, their feet on my back
 7   Anthony Chancelor is shooting the tires out on the car.       7   and their elbow on my neck.
 8      Q. Okay. Explain to me when the shots were fired.          8     Q. Okay. After you're handcuffed, what happened?
 9   In between when?                                              9     A. They started beating me.
10     A. When Ben hit the car, Anthony Chancelor started         10     Q. All right. Who hit you first?
11   shooting the tires out.                                      11     A. Ben Ivy, I know.
12     Q. So at that point, your car is inoperable?               12     Q. Where did he hit you?
13     A. Yeah, my car then -- it shut down -- when he hit        13     A. In my right eye -- both of them; they're still
14   the car, immediately the -- since -- it killed the whole     14   like that to this day. That's why I got them black marks
15   car.                                                         15   on them.
16     Q. And it was clear to you that Chancelor was              16     Q. Got hit in both your right and left eyes?
17   aiming for the tires; he was not shooting at you?            17     A. Yeah, right face.
18     A. I just know the tires -- all the -- I just heard        18     Q. Ben was hitting you with an open hand or closed
19   him popping them tires.                                      19   fist?
20     Q. In other words, you were not -- you did not feel        20     A. I can't -- I can't recall. I just know he was
21   like a firearm was pointed at you?                           21   beating me.
22     A. Oh, yeah, they were pointed at me, but I seen           22     Q. All right. So Ben hit you in your right eye,
23   him shooting with my own two eyes.                           23   and who else hit you?
24     Q. Sure. And after he shot the tires, Ben Ivy had          24     A. I can't recall who else hit me because, like I
25   struck your driver's side door. You got out, laid on the     25   said, I was laying facedown. But I can recall them three,


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 1   Joey Mosley, Anthony Chancelor and Ben Ivy, the ones --  1      started -- they started beating me. I can't recall
 2   before everything went black, before they knocked me out,2      because I was kind of -- I went out kind of. That's how
 3   I can remember both -- all three of them -- and I could 3       bad they were hitting me. I lost focus and consciousness,
 4   hear Ben saying, "You son of a bitch." That's when they  4      so I really can't recall what else they did to me. I just
 5   went to work.                                            5      know they did -- he started off beating me.
 6      Q. All right. What did Anthony Chancelor do to 6               Q. And when you say "beating," throwing punches or
 7   you?                                                     7      some other kind of injury?
 8      A. I can't recall what he did.                        8        A. Yeah, the first one went straight to my eye,
 9      Q. But I guess I'm wondering how you're certain 9            straight to my eye.
10   that he hit or threw a punch or -- if you couldn't see? 10        Q. Okay. Take any other hits to the eye after that
11          I know you said you saw Ben strike you on the 11         first one?
12   right side, but, you know, I guess, what could you see 12         A. Yeah.
13   then?                                                   13        Q. Who was striking you at that point after that?
14      A. I could see -- I could see all three of them      14      I know the first time was Ben Ivy, but who would have been
15   there --                                                15      hitting your --
16      Q. Okay.                                             16        A. It was only three officers that I know that,
17      A. -- before I went out kind of.                     17      like I said, I can recall seeing there and knowing that's
18      Q. They were all three standing over you?            18      got hands on me, which was --
19      A. One had their feet on my back. One had like 19              Q. Sure.
20   down -- had his hand on my neck. And the other one was 20         A. -- one on my -- feet on my back, one retaining
21   putting the cuffs behind my back. And that's when they 21       my -- pinning me down to make sure I don't try to get up
22   said -- that's when Ben said, "You son of a bitch," and 22      or do nothing outrageous, and I know for a fact Ben was
23   started beating me.                                     23      there, which -- it could have been one of the three --
24      Q. Who had a hand on your neck?                      24      either one placed the cuffs on me, but I know I recall Ben
25      A. It had to be either Joey Mosley or Anthony        25      started off.

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 1   Chancelor. Those are the only three officers I seen when    1     Q. Okay. Who had their foot on your back? Do you
 2   I laid down on the ground. I can recall them three right    2   know?
 3   there -- being right there. I can see them very clear.      3     A. I can't recall that.
 4     Q. And they -- is it possible that Joey and Anthony 4           Q. And for the most part, these were blows to your
 5   just held you down and Ben was the only one striking you    5   face?
 6   or are you not sure?                                        6     A. Yes, ma'am, correct, both of my eyes, my right
 7     A. Yeah, that's very possible.                            7   face -- right side of my face.
 8     Q. About how many hits to the face do you recall? 8             Q. How did your chest get injured?
 9     A. Like I said, it kind of knocked me out, but I          9     A. I have no idea. I don't know -- they -- like I
10   know I got medical records from -- they had to shoot me to 10   said, they kind of knocked me unconscious for a few
11   the University of Jackson. My face -- my right eye socket 11    minutes, so I don't know if they were kicking me or what
12   was fractured and my right face was fractured and my chest 12   they did. I just can recall what I'm telling you --
13   bone was fractured real bad.                               13     Q. Okay.
14     Q. And you didn't receive any of those injuries in 14           A. -- that I remember.
15   the sort of pursuit --                                     15     Q. When you came to, what's the first thing you can
16     A. No, ma'am.                                            16   remember?
17     Q. -- hitting your vehicle with --                       17     A. Getting up off the ground and seeing Todd Kemp
18     A. I have --                                             18   and Gary Kelly and a lot of more police officers, and my
19     Q. -- other cars and such?                               19   whole face just numb and my eye closed and my face just
20     A. I have all forms from the Enterprise rental car, 20        numb and tingling and I couldn't breathe. I kept telling
21   wasn't no airbags deployed, no windows knocked out, no 21       them, "I can't breathe, I can't breathe."
22   nothing.                                                   22     Q. And you were up off the ground at that point?
23     Q. We talked about hits to the face. Anywhere else 23           A. They had me up. They was holding me, like three
24   on your body that somebody struck you?                     24   or four officers and everybody was around. They were
25     A. Like I said, after -- I know for a fact he            25   holding me up. That is when they placed me in the K9


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 1   Tahoe with Clarke County Sheriff's Department on it and    1      Q. Okay. What did they treat you for at the
 2   took me -- immediately drove like 90 miles per hour all    2    hospital?
 3   the way to the county jail, cussing me out, the driver --  3      A. They didn't treat me. They said they couldn't
 4    a young police -- I can't recall his name -- calling me 4      treat me. I sustained too bad of an injury. They had to
 5    "stupid motherfucker" and stuff like that.                5    shoot me to the University of Jackson immediately.
 6           Then once I made it to the county jail, that's     6      Q. All right. How did you get to UMC? Who
 7   when they threw me straight in the cell. They didn't book  7    transported you?
 8    me in or none of that.                                    8      A. The ambulance and a jail deputy.
 9      Q. All right. You said when you got up off the          9      Q. What did they do for you at UMC?
10   ground, you saw Sheriff Kemp. Did you say anything to 10          A. They -- like when I first got there, I don't
11    him?                                                     11    know. I just know they did all kind of -- put me to sleep
12      A. No.                                                 12    and they X-rayed me. They was going to have surgery.
13      Q. Did he say anything to you?                         13    They wouldn't let me eat for 24 hours.
14      A. No, I couldn't. My face was so -- I couldn't        14          A nurse come in, wiped me all the way down, put
15    talk. I was numb, like I couldn't even -- my face was 15       a gown on me. The doctor come in and talked to me, went
16    like -- felt like it was broke. I couldn't do -- I       16    through the steps of him -- me having the surgery, having
17    couldn't talk if I wanted to.                            17    to cut my face, and he told me I'm very lucky. He kept
18      Q. Yeah. Let's kind of back up to when you were on 18        telling me I'm very lucky because I'm really messed up.
19   the ground and you said Mosley and Chancelor and Ivy were 19    And they come and were taking the little tweezers --
20   around; could you see any other officers gathered around 20     wetting my eyelashes because this -- my whole eye was
21    there?                                                   21    stuck inside like that. And every day they come so many
22      A. No, they knocked me out.                            22    hours and clean it and pick it back out, you know. But
23      Q. Do you know if any other officers were              23    all of a sudden, the surgery didn't come.
24    witnessing that? I mean, could you see --                24      Q. So you didn't end up having the eye surgery?
25      A. I can't say I know because I was out.               25      A. I didn't end up having the surgery. They

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 1     Q.   Okay.                                                1   just -- I don't know what happened with all of that. I
 2     A.   But I can recall --                                  2   just know I stayed two more days. They recasted me up,
 3     Q.   Sure, sure.                                          3   gave me pain medicine, did what they did, and sent me back
 4     A.   -- a lot of them being on the chase with me.         4   to the county jail, which I was placed back in a cell by
 5     Q.   Sure. But after the chase came to an end,            5   myself again.
 6   you're not -- you didn't see exactly who was around on the 6         And I asked the jail administrator -- I said,
 7   scene; is that fair?                                        7   "Could you please get somebody from the back up here,
 8      A. Yes.                                                  8   anybody that can help see to me until I can at least get
 9      Q. Okay. Now, so you see Kemp. You get loaded up, 9          out of here?"
10   taken by an officer who you don't -- you can't recall who 10          Because I couldn't move. I couldn't even get in
11   it was, thrown into a cell. At that point, what was        11   bed. I had to be -- I was in a wheelchair, had a right
12   injured?                                                   12   cast and I had a whole brace on the left side of my leg.
13      A. They had cut the water off in my right eye, my 13         I couldn't move or nothing.
14   right face, and I couldn't breathe and my chest was having 14         And he did that. He went and got -- they went
15   bad sharp pain, and that's when the guard came. They 15         and got somebody from the back and placed them in the cell
16   opened the door up like with their Tasers and stuff and 16      with me, which was a guy named David Marshall.
17   they was like, "Get his ass" -- Barry White, the jail 17         Q. And that was another prisoner?
18   administrator, he said, "Get his ass down to the           18    A. Yes.
19   hospital." I can recall him saying that, "Get his ass 19         Q. About how long were you in that cell with David
20   down to the hospital."                                     20   Marshall?
21      Q. Okay.                                                21    A. For like -- I'd say like 24 hours, might have
22      A. That's when they hurried up and rushed me to the 22       been a day and a half or -- I know every bit of 24 hours.
23   hospital. And they locked the entrance off, couldn't 23         That's when the judge came into the jailhouse and set me a
24   nobody get in, my family, nobody. They wouldn't let my 24       bond. They wouldn't let me go to the courthouse because I
25   mom, dad, auntie, nobody see me.                           25   was too messed up, so they made him come to the county


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 1   jail and give me a bond, keep from people seeing me. The      1   about the car wreck that you had before March 2019 --
 2   judge, which was Terry Bonner.                                2     A.   That was --
 3     Q. Terry Bonner?                                            3     Q.   -- where you hurt your leg?
 4     A. That's correct.                                          4     A.   Nothing.
 5     Q. Let me ask you about this cast. They put a cast          5     Q.   So you just hurt your leg in that car accident?
 6   and a brace on you; what was that?                            6     A.   No, it was already hurt.
 7     A. A cast was -- they put the brace on my left              7     Q.   Yes, sir. Let's ask this a different way. When
 8   side -- on my left leg and they put like on a -- what they    8   was the car accident you were in prior to March 2019?
 9   call them -- splints like --                                  9    A. Probably like five months before this incident,
10     Q. Splint?                                                 10   four months before this incident.
11     A. Yeah.                                                   11     Q. Okay, four or five months. Where did that
12     Q. Where did that go?                                      12   accident take place?
13     A. Just on my right side of my leg.                        13     A. On 513.
14     Q. Right side of your right leg or left?                   14     Q. Is that in Clarke County?
15     A. Right leg.                                              15     A. Yes.
16     Q. And they recasted you?                                  16     Q. And what were you driving at the time?
17     A. Uh-huh.                                                 17     A. I wasn't driving.
18     Q. That was your left leg?                                 18     Q. You were not the driver. What happened in that
19     A. Right leg.                                              19   accident that caused it?
20     Q. Right leg?                                              20     A. They just lost control.
21     A. That's correct.                                         21     Q. Was the driver -- the driver of the car you were
22     Q. What was the leg that had already had the cast          22   in lost control or another car?
23   on it?                                                       23     A. Yes, the driver of the car I was in.
24     A. I had already previously been in a bad                  24     Q. Okay. Who was driving that car?
25   accident -- bad car wreck.                                   25     A. Derek.

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 1     Q. And what injuries did you have from that car             1     Q. What's Derek's last name?
 2   wreck?                                                        2     A. I don't even know the last name.
 3     A. Just -- I had already had it stapled and screws          3     Q. And where were y'all headed when that accident
 4   and rods -- I got a metal plate in my right side of my        4   occurred?
 5   leg. It just kind of bruised it up real bad, like kind of     5     A. Stonewall.
 6   making it to where the plate was dis -- trying to             6     Q. Were there any other cars involved in that
 7   dislocate my bones -- re-dislocate my bones, so they          7   accident?
 8   secured it and put a -- what they call a splint on it.        8     A. Huh-uh.
 9     Q. And that was your -- which leg?                          9     Q. All right. So the driver lost control of the
10     A. Right leg.                                              10   car and then what happened? Did the car strike anything?
11     Q. Okay. And did you have a cast on the right leg?         11     A. It hit like limbs, bushes.
12     A. A splint, cast, whatever they call it.                  12     Q. Did law enforcement respond to that accident?
13     Q. Okay.                                                   13     A. I went to the hospital. They ain't never said
14     A. Splint.                                                 14   nothing about nothing or nothing.
15     Q. I'm thinking of like those old-school plaster           15     Q. How did you get to the hospital after the car
16   casts. Did you have one of those?                            16   accident?
17     A. Huh-uh.                                                 17     A. Some people took me.
18     Q. Okay. I don't guess they put those on people            18     Q. Who took you?
19   anymore.                                                     19     A. A little girl -- lady named Chesery Hamilton.
20          What other injuries did you have from that car        20   She had passed by, and they took me to the hospital.
21   accident?                                                    21     Q. And what hospital did you go to?
22     A. That mainly was it, my eyes, right side of my           22     A. Watkins Memorial, which is in Quitman,
23   face and my chest -- my chest.                               23   Mississippi.
24          MR. SMITH: She's --                                   24     Q. What did they do for you at Watkins Memorial?
25     Q. (By Ms. Malone) Yeah, I was actually asking             25     A. Nothing. They just -- they didn't do nothing.

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 1     Q. Okay. Did they take any X-rays?                          1     Q. You mentioned a fracture. Your chest was
 2     A. I think they did take X-rays.                            2   fractured?
 3     Q. Were they the ones that put your splint on?              3     A. Might have been broke -- some bones might have
 4     A. Huh-uh, Lauderdale.                                      4   been broken, too. I can recall fracture. I think some of
 5     Q. Okay. So you go to Watkins Memorial. Did they            5   them was broke, too, like the ones on my face, but like I
 6   keep you overnight?                                           6   said, the records is going to show it from the University.
 7     A. Huh-uh, they sent me to -- they referred me to           7     Q. Sure.
 8   Rush -- Rush Hospital.                                        8     A. We should have this on there.
 9     Q. Is that the one in Lauderdale?                           9     Q. How long were you at University?
10     A. Uh-huh.                                                 10     A. Four days.
11     Q. What did they do for you at Rush Hospital?              11     Q. What all did they do for you there? How did
12     A. Just kept me there and they went through my leg         12   they treat your injuries?
13   that was already -- the one that had the plate in it to      13     A. They treated me pretty good. They just -- they
14   check it to make sure everything was still stable with the   14   pulled back on the surgery. For what reason, I don't
15   plates and rods and screws I have in it.                     15   know. But they -- he come in every day and he kept
16     Q. So did you have those plates and rods and screws        16   telling me I'm going to have to have surgery.
17   prior to this car accident you were in with Derek?           17     Q. But at some point, somebody must have changed
18     A. Yes, I already had them.                                18   their mind about surgery?
19     Q. Okay. Where did those come from? How did you            19     A. I imagine so.
20   get those put in your leg?                                   20     Q. So you mostly said they had doctored on that eye
21     A. An accident that happened in West Virginia.             21   while you were at University?
22     Q. When was that?                                          22     A. They kept a check on my chest and had me hooked
23     A. Probably about 2014 or '15 -- probably like '15.        23   up to the machine.
24     Q. And how did your leg get injured in that                24     Q. Okay.
25   accident?                                                    25     A. Yeah, they monitored my face and my eating.

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 1     A. I jumped down from a high, like, building and            1     Q. So after you were discharged, you came back to
 2   landed awkward.                                               2   the jail?
 3     Q. Were you being pursued by somebody at that --            3     A. Correct.
 4     A. No, ma'am.                                               4     Q. And you mentioned you were taken care of by
 5     Q. So that jump from the high building, that didn't         5   another inmate. How long were you in Clarke County jail?
 6   involve law enforcement at all?                               6     A. At the most, probably a day and a half, no more
 7     A. No, ma'am, correct.                                      7   than two days.
 8     Q. Okay. So at Rush, they made sure everything was          8     Q. Did you bond out?
 9   still in place?                                               9     A. Yes, I bonded out.
10     A. Uh-huh.                                                 10     Q. You mentioned something about discovery earlier.
11     Q. Did they do anything else for you?                      11   That was in -- that was in your criminal case about the
12     A. Huh-uh.                                                 12   aggravated assault charge?
13     Q. Did they put the splint on you at Rush?                 13     A. It was -- I was charged with more than that. It
14     A. Yes, correct.                                           14   was with all charges, but, yes.
15     Q. How long were you to wear that? Did they tell           15     Q. Yes, sir. But there was something you said you
16   you how many months to wear it?                              16   saw in discovery. I can't remember what you were trying
17     A. I can't remember that.                                  17   to tell me, something in discovery in your criminal case
18     Q. But you were wearing it on March 21st when you          18   that you mentioned and I'm drawing a blank now. If I
19   were arrested, is that right, the splint?                    19   remember, I will come back to it.
20     A. Yes.                                                    20          All right. So I'm going to just kind of go
21     Q. Okay. Now let's fast-forward. I want to talk            21   through one by one because there are several people named
22   some more about what injuries you think you got as a         22   in your complaint and I just want to hear -- I know that
23   result of the force that was used to arrest you. Right       23   these lawsuits are drafted by your lawyers and I don't
24   side of your face?                                           24   want to hear about conversations that y'all had, but I do
25     A. Uh-huh.                                                 25   kind of want to hear from you in your own words about why,


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 1   you know, you want to sue all these folks.                 1      A. -- where he came and helped pursue the chase. I
 2        What are you saying that Sheriff Kemp did to          2    don't think he was never just right there in direct --
 3   you?                                                       3    right there on the scene and set when everything was
 4     A. Well, from my knowledge, he's supposed to have        4    really taking place. I think Evans -- that's Ryan Evans,
 5   got on his radio and told law enforcement, which was, I    5    he's an investigator.
 6   don't know, the Clarke County or Lauderdale County, "When  6      Q. Okay.
 7   y'all catch that nigger, y'all beat that nigger."          7           MS. MALONE: I want to mark this.
 8           Instead of him sending it to the deputy, it went   8           (Exhibit 1 marked for identification and
 9   across the scanner where I live.                           9       attached hereto.)
10     Q. So were you actually able to hear that or            10           MS. MALONE: You guys have gotten some
11   somebody else heard it?                                   11       statements from our officers. I'll let you look at
12     A. Somebody else heard it.                              12       it before I hand it to him. This is Ryan Evans'
13     Q. Do you know who that was that heard it on the 13              statement.
14   scanner?                                                  14           MR. SMITH: Okay.
15     A. A lot of people.                                     15           (Pause.)
16     Q. Can you give me some names?                          16      Q. (By Ms. Malone) Have you seen documents that we
17     A. I will get their names for you. I will get it        17    provided to your attorney? Have they shared those with
18   back to my lawyer.                                        18    you?
19           MS. MALONE: Is that something y'all can provide 19        A. No, I need all of these.
20       in your interrogatory responses, Justin?              20      Q. Okay. That -- that's --
21           MR. SMITH: Yeah, I should be able to.             21         MS. MALONE: Did you mark it A or 1?
22     Q. (By Ms. Malone) Because I don't have any -- I 22                THE REPORTER: 1.
23   have been through the audio traffic from that chase and I 23      Q. (By Ms. Malone) Okay. That's Exhibit 1.
24   don't hear anything like that. So if you can come up with 24    That's a statement from Ryan Evans, and it kind of sounds
25   some names of folks in the community that heard that come 25    like consistent with -- to me with what you recall, that

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 1   across the scanner, I would be very interested to know who  1   he just kind of came up after the chase was over and you
 2   they are.                                                   2   were on the ground.
 3         Then we talked about Ben Ivy quite a bit. He's        3     A. Okay. That's who transferred me, Tombstone
 4   the person that you know struck your right side of your     4   (sic).
 5   face. Any other reason why you're suing Ben Ivy?            5     Q. Touchstone?
 6     A. Just police brutality.                                 6     A. Touchstone, yeah, whatever.
 7     Q. Okay. How about Deputy Chancelor?                      7          (Pause.)
 8     A. Same for all of them.                                  8     Q. I mean, according to Evans, he didn't see any
 9     Q. What about Deputy Evans, do you remember in 9              force. You know, there's nothing really remarkable in
10   particular what he did at the scene?                       10   there. He just recalls you being already secured and on
11     A. Who?                                                  11   the ground.
12     Q. Deputy Evans.                                         12         I mean, do you have any reason to dispute that,
13          (Pause.)                                            13   that Evans would have seen something or been in position
14     Q. Do you know who that is?                              14   to prevent the force?
15     A. I'm trying to recall. I know that name. Was he 15            A. If he was, I'm pretty sure he was going to go
16   an investigator?                                           16   with the law officers -- his fellow deputies, if he did.
17     Q. Let me --                                             17   That's the way they run things.
18     A. He wasn't even really just -- he came last. He 18            Q. Right. But, I mean, you don't have any evidence
19   wasn't -- they just place -- they do like -- they just     19   that he was there earlier in time than when he said he was
20   will place people on the case like -- it's kind of -- it's 20   or that he saw anything or that he could have done
21   so corrupted right down there, but he wasn't never -- he 21     something to prevent it?
22   came to the chase late and I think he stated that in those 22     A. Correct.
23   motion discoveries right there you have got in your 23            Q. Okay. And as far as I can tell, Deputy
24   hand --                                                    24   Touchstone was the officer who transported you; is that
25     Q. Uh-huh.                                               25   your understanding from reading the document I just handed


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 1   you?                                                        1   minute to read over that as well. Just let me know when
 2     A. Yes, it is.                                            2   you're done.
 3           (Pause.)                                            3         (Pause.)
 4     Q. Just looking to see if I have anything from            4     Q. Okay. So, again, Agent Rawson says he's part of
 5   Touchstone.                                                 5   the pursuit obviously, and he gets on the scene and says,
 6           MS. MALONE: Mark that No. 2.                        6   "Once I had eyes on the suspect, there were already
 7           (Exhibit 2 marked for identification and            7   several officers securing him."
 8       attached hereto.)                                       8         So based on this statement, he didn't see any
 9           MS. MALONE: This is the statement of Deputy         9   force; he was not in a position to intervene in any force.
10       Austin Touchstone.                                     10   Do you have any evidence to dispute this statement?
11     Q. (By Ms. Malone) I will just give you a minute         11     A. No.
12   to read over that.                                         12     Q. Okay. And it sounds as though Rawson here at
13           (Pause.)                                           13   the end says he's the one that pulled the pistol out of
14     Q. Do you mind just kind of reading into the record      14   the passenger floorboard. Is that -- did you see him do
15   that last part of the statement that starts, "I arrived at 15   that? Did you see the pistol being pulled out?
16   the scene"?                                                16     A. (Shook head.)
17     A. "I arrived at the scene of the final resting          17     Q. Okay.
18   place of the pursuit near Circle (sic) 344 and the subject 18     A. I was knocked out on the ground.
19   was in custody. I then transported the black male to the 19       Q. Okay. And how about Billy Lewis, do you know
20   Clarke County Jail."                                       20   who that is?
21     Q. And, again, it sounds like his statement is           21     A. Yes, I know Billy Lewis.
22   similar to that of the prior deputy in that he says he got 22     Q. Okay. What do you recall about Billy Lewis at
23   on the scene, you were already in custody --               23   the scene?
24     A. Don't nobody want to put theirself on the scene, 24          A. Nothing. I don't recall nothing about Billy
25   that's what it sounds like. That's what the statements -- 25    Lewis.

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 1   all the statements, half of them don't want to be nowhere  1      Q. Okay.
 2   near the scene where the beating took place. That's the    2      A. Where his statement at, though?
 3   -- from what I read over the past close to three years I   3      Q. Yeah, I'm going to show it to you.
 4   been down in prison reading some of the statements. It's   4           MS. MALONE: Will you mark this? I'm going to
 5   basically all -- a lot of them just not putting theirself 5        hand it to your lawyer first.
 6   on the scene. Don't nobody want to take consequences or    6           (Exhibit 4 marked for identification and
 7   be responsible for what really actually happened to me. 7          attached hereto.)
 8     Q. But would it be fair to say, you know, you're         8           (Pause.)
 9   speculating that that's what he's doing here in this       9           THE WITNESS: I've read it.
10   statement?                                                10           MR. SMITH: You read it already?
11     A. When I read everybody's statement, that's -- 11                   THE WITNESS: Yes.
12     Q. I mean, do you have any reason to believe            12      Q. (By Ms. Malone) Okay. You've seen this
13   that -- or to dispute or any evidence to dispute the fact 13    statement before?
14   that when he got there, you were already in custody and 14        A. I done had the whole -- I got that whole -- I
15   all he did was transport you to jail?                     15    had that whole --
16     A. I agree that he did do that.                         16      Q. Yeah. It's actually pretty consistent with your
17     Q. Okay, all right. There's also an Agent Rawson 17           testimony so far, the --
18   involved in your pursuit and arrest. Let me see if I can 18       A. Especially his; he told the truth.
19   find...                                                   19      Q. Okay.
20           (Pause.)                                          20      A. He actually -- then he tried to change it. He
21           (Exhibit 3 marked for identification and          21    said I got out with my hands up and laid on the ground.
22       attached hereto.)                                     22      Q. "He dove out of the passenger door with his
23           MS. MALONE: I'm going to hand this to your 23           hands out in front of him and laid facedown on the
24       attorney first.                                       24    ground"?
25     Q. (By Ms. Malone) And, again, I will give you a 25             A. Exactly, correct.

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 1     Q. Isn't that what you just testified to?                   1     A. His son.
 2     A. That's right.                                            2     Q. His son. Do you know his son's name?
 3     Q. Yes, sir. He said that they tried to put                 3     A. I can't think of it right off.
 4   handcuffs on you and you were resisting and fighting          4     Q. Is his son a police officer for Enterprise as
 5   officers when they tried to handcuff you?                     5   well?
 6     A. All that is wrong.                                       6     A. And Clarke County.
 7     Q. Okay. He says that you were having trouble               7     Q. Okay. Does he work for both or just Clarke?
 8   breathing lying on your stomach. You talked about that        8     A. I'm not for sure.
 9   earlier?                                                      9     Q. Sure. At the time he arrested you, do you know
10     A. (Nodded.)                                               10   which agency he was on duty for?
11     Q. He says the officers rolled Tillman onto his            11     A. The sheriff's department.
12   side to help with breathing; is that -- do you recall        12     Q. Okay. Do you remember what that charge was?
13   that?                                                        13     A. A felony eluding.
14     A. I can't recall none of that. I was knocked out.         14     Q. Was that another chase? Okay. Tell me about
15     Q. Okay. He recalls that you asked to stretch your         15   that felony eluding charge. How did that come to be?
16   leg out because it was hurting and you were having trouble   16     A. I was in the car with somebody and they ran from
17   breathing. Do you recall that, requesting to stretch your    17   them.
18   leg?                                                         18     Q. They ran from Molder (sic)?
19     A. No, ma'am.                                              19     A. From -- no, I don't know -- let's just say the
20     Q. Lewis said that you told the officers you had           20   city police.
21   been in a wreck not too long ago and hurt your leg and       21          MR. SMITH: Let me ask you a question about that
22   chest. Do you remember that -- saying that?                  22      charge. Has that charge -- has that charge -- has
23     A. No.                                                     23      anybody been indicted for the particular charge?
24     Q. Did you have any injuries to your chest in that         24          MS. MALONE: I'm not sure. I was going to ask
25   prior accident we talked about that hurt your leg?           25      him since it's not our charge.

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 1     A. No.                                                    1            MR. SMITH: Okay. That's not --
 2     Q. So, again, it sounds like Lewis didn't witness         2            THE WITNESS: No.
 3   any force, did not appear to be in a position to intervene  3            MR. SMITH: The guy was never -- you were never
 4   in any force.                                               4        indicted and the guy was never indicted?
 5          I mean, do you have any evidence that he             5            THE WITNESS: I wasn't ever indicted on it.
 6   witnessed the strikes to your face or any of the other 6            Q. (By Ms. Malone) You were just a passenger in
 7   things you have talked about?                               7     that car?
 8     A. I can't recall that because...                         8       A. Yes.
 9     Q. Okay. That's fair. I don't want you to                 9       Q. Were you put in Clarke County custody?
10   speculate or guess.                                        10       A. Yes.
11          Since you bonded out of Clarke County on the 11              Q. How long did you stay in jail?
12   charges that resulted from March 21, 2019, have you had 12          A. I stayed in jail because I already had these
13   any conversations with any Clarke County deputies or with 13      charges I'm on -- I was already on, so I didn't go
14   the sheriff?                                               14     nowhere. I came straight from there to prison.
15     A. No, I haven't.                                        15       Q. And you're not complaining about any treatment
16     Q. Have you had any encounters, been pulled over 16             that you had by Clarke County at that time? That's not a
17   for a traffic ticket, any --                               17     part of this lawsuit at all; is that correct?
18     A. No, ma'am.                                            18       A. What you mean?
19     Q. Am I correct that you were arrested in July           19       Q. The July 2019 arrest and incarceration with
20   2019?                                                      20     Clarke County, you're not saying anything unlawful
21     A. Yes, I was arrested then.                             21     happened to you then?
22     Q. Who arrested you then?                                22       A. Huh-uh.
23     A. I can't put -- Joey Mosley -- it's his son. I         23       Q. Okay.
24   forgot about that.                                         24            (Pause.)
25     Q. It was Joey Molder (sic) or his --                    25       Q. Okay. After you were at UMC and released back

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 1   to Clarke County, did you have any further medical            1    A. No, not much.
 2   treatment for the injuries to your right side of your face    2    Q. Did she come visit you at Clarke County when you
 3   and your chest?                                               3   were incarcerated in March 2019?
 4     A. Yes.                                                     4    A. No, ma'am.
 5     Q. Okay. What was that?                                     5    Q. Okay. Anybody in your family that came to visit
 6     A. Did I follow up?                                         6   who would have been in a position to see your injuries?
 7     Q. Yeah. What kind of follow-up care did you have           7     A. They didn't let nobody come.
 8   after UMC?                                                    8     Q. Okay. When you bonded out, did you still have
 9     A. I didn't have to -- I followed up in Birmingham          9   any visible injuries?
10   in UAB.                                                      10     A. Yes.
11     Q. Okay. Who did you see over there?                       11     Q. Anybody come pick you up who would have seen
12     A. I can't remember. I seen doctors but I can't            12   those?
13   remember their names.                                        13     A. Yes.
14     Q. Were you seen at the hospital?                          14     Q. Okay. Who would that be?
15     A. At University -- at UAB --                              15     A. The bail bondsman, Tremaine Moore.
16     Q. Okay.                                                   16     Q. Tremaine Moore?
17     A. -- in Birmingham.                                       17     A. Yes. All the jailers.
18     Q. What did they treat you for at UAB?                     18     Q. Okay. Can you think of any specific jailers
19     A. Just took the splint off, cleaned that, checked         19   that you had some interactions with?
20   my face and my eye socket, just kept me updated on what      20     A. I made bond. I just know her name is Zella Mae
21   was going on with the fracture and how everything was        21   (phonetic).
22   healing.                                                     22     Q. Zella Mae?
23     Q. Were you admitted to the hospital there?                23     A. Uh-huh. I can't recall who else. I can't
24     A. No, I wasn't.                                           24   recall what other jailers were there. I just remember
25     Q. How many times were you seen there?                     25   her -- me signing a paper with her, but it was one more.

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 1     A. Like twice.                                      1 I just can't recall who it was at the time.
 2     Q. Both times for follow-up on your face and --     2    Q. Any friends you would have talked about your
 3     A. The leg and --                                   3 lawsuit with?
 4     Q. -- the splint?                                   4    A. No, ma'am.
 5     A. -- the eye, yes, ma'am.                          5    Q. Anybody here in jail in Winston County you've
 6     Q. Any more treatment after those UAB visits for 6 discussed it with?
 7   those injuries?                                       7    A. No, ma'am.
 8     A. No, ma'am.                                       8    Q. And when you serve out this sentence, what do
 9     Q. So you're not under a doctor's care for your     9 you intend to do? Are you going back to Quitman?
10   eye, your face, or injuries to your chest right now? 10    A. I don't know.
11     A. No, ma'am.                                      11    Q. Do you know of any other folks that Ben Ivy has
12     Q. Okay. Do you have outstanding hospital bills 12 used force against when he arrested them?
13   for those Birmingham UAB visits? Or were they paid? 13     A. I know he supposedly have a couple of lawsuits
14     A. No, I probably got them for Watkins, the        14 against him and I don't know their names -- I can't call
15   University of Jackson and going to be for Birmingham         15   their names, but I think -- I know he had an incident up
16   pretty much. I'm thinking all three places.                  16   there in Lauderdale County when he was a narcotics up
17     Q. Okay. No other places that you were treated for         17   there in Lauderdale County, which he was forced to resign
18   injuries arising out of this arrest?                         18   or get fired from up there.
19     A. Correct.                                                19          Then that's when he was hired by the sheriff's
20     Q. Okay. Have you discussed your lawsuit with              20   department, and he have multiple stuff that be coming
21   anybody other than your attorneys?                           21   against him down there in Clarke County, from my
22     A. No.                                                     22   knowledge. But I don't have the -- I can't just name them
23     Q. Still have the fiancee that you had in 2019?            23   right offhand, though.
24     A. Yes, correct.                                           24     Q. Okay. What about those other officers who --
25     Q. Have you discussed this lawsuit with her?               25   was it Chancelor -- do you know of any other folks that


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 1   Chancelor has used force against in arresting them?       1            And she kept telling me they don't have it, they
 2     A. I can't recall.                                      2     don't have it. Kathy McNair said she couldn't show me
 3     Q. How about any Clarke County officers, have you       3     none of that.
 4   heard of or have any knowledge of any Clarke County       4       Q. So do you remember which -- which vehicle had
 5   officer having used excessive force --                    5     the video footage that you were able to see?
 6     A. Yes.                                                 6       A. Ben Ivy's truck, which was the one pursuing the
 7     Q. -- in arresting somebody? What's that -- who is      7     chase, that's in my motion discovery. It show a picture
 8   that?                                                     8     of him on the interstate, on the four-lane. It can show
 9     A. I can't remember. They done did it to so many        9     me in front of him. That's the only thing I have in my
10   people. I just can't come off and name all of them. They 10     motion discovery that I have seen.
11   done did it a lot.                                       11           But I have asked numerous times when I was going
12     Q. What deputies do you recall being involved in 12           to court on this behalf of what I'm in here serving time
13   something like that?                                     13     for now, I asked her for all of that, body cams, videos
14     A. Joey Mosley, Ben Ivy.                               14     from the county jail where they didn't book me in, and
15     Q. Can you think of any person in particular that 15          from the scene -- the scene where everything supposedly
16   Ben Ivy has used force against?                          16     took place. And she said she couldn't ever get it for me
17     A. Me.                                                 17     or none of my medical records. I even signed a paper for
18     Q. Sure, sure. But anybody other than you, heard 18           her to send off to my medical records because the
19   about it in the community or witnessed it?               19     prosecutor kept asking me, just show me -- show me -- you
20     A. I can't recall no names right now.                  20     got some pictures or video? Show me something where they
21     Q. Okay. And we talked about Joey actually works 21           beat you.
22   for Enterprise; is that right?                           22           And I guess she was going to plan that -- on
23     A. Yes.                                                23     working -- you know, we was going to work something out
24     Q. Any particular reason why you didn't name Joey 24          for the deal. But my lawyer never got that to me. She
25   Molder (sic) in your lawsuit?                            25     just kept saying, "You go to trial, they're going to find

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 1     A. I thought he was in there.                             1   you guilty, you're going to lose, they're going to" -- so
 2     Q. And, I mean, you may very well have another            2   I was feared. I just went on and took a plea.
 3   lawsuit against him. I don't know. I'm just wondering.      3      Q. You said at one point that you were being
 4    I don't see him as a named defendant here.                 4   transported from the scene where you were at the end of
 5           MS. MALONE: All right. That's all I have.           5   the pursuit to the Clarke County jail?
 6       Mr. Smith, if you have some follow-up, I tender the     6      A. Yes.
 7        witness.                                               7      Q. You said you remember hearing some statements or
 8           MR. SMITH: I just have a couple questions.          8   somebody said something to you or -- you're a stupid MF-er
 9    EXAMINATION BY MR. SMITH:                                  9   or something?
10      Q. One, earlier you mentioned video footage. You 10            A. Yeah, supposedly -- that was Touchstone. That's
11    said at trial or at some point, you saw video footage of 11    what the statement recalled saying, that was Touchstone,
12   the pursuit. Did you see the video footage of the end of 12     the one that supposed to transferred me to the county
13    the pursuit or did you see video footage of the entire 13      jail. He was in a new model like Tahoe, so it should be
14    pursuit?                                                  14   video footage.
15      A. Just -- I never -- seen this on my motion            15     Q. That would be Touchstone; right?
16   discovery. It got Ben within probably miles behind me in 16       A. Yes.
17   his truck. But when I was getting ready to go to court on 17      Q. Do you recall him saying anything else besides
18    this charge that I'm serving time for, actually that I'm 18    that? Did he just say that one statement or did he say
19    incarcerated for now, I asked her to go get the videos 19      other statements?
20   from the county jail when I was brought in, when I was 20         A. He was just cussing me out.
21   beat, and when all this -- what happened to me and from 21        Q. Didn't say anything about someone hitting you or
22   the body cams and from the Tahoe that was behind me, which 22   your condition or anything?
23   was Anthony Chancelor and Touchstone, they both -- both of 23     A. No.
24    their Tahoes, plus Ben Ivy's truck that rammed the 24            Q. What about in jail, when they put you in a cell,
25    driver's side of the car.                                 25   did you overhear anybody say anything about injuries or


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 1   anything about what happened post-pursuit?                  1        MR. SMITH: Yeah, we will read and sign.
 2     A. No, they just immediately got me to the                2        THE REPORTER: Do you want a copy of it,
 3   hospital. They put me in a cell, no water on or nothing,    3      Mr. Smith?
 4   then immediately took me out immediately. I maybe was in    4        MR. SMITH: No.
 5   the cell three minutes -- two, three minutes max before     5        (Deposition concluded at 11:48 a.m.)
 6    they retrieved me with like eight polices standing in 6
 7   front of it and stuff, and they're telling me to back back  7
 8    and get against the wall, and then they immediately 8
 9    handcuffed me and told me -- I remember the jail           9
10   administrator, Barry White, saying, "Get his ass to the 10
11    hospital. Get his ass down there."                        11
12           And that's when they took me down to the           12
13   hospital, Watkins Hospital, which I was seen and X-rayed 13
14   and stuff. But when they got -- as soon as they got the 14
15   X-rays back, they called Lauderdale County. I heard the 15
16   doctor or nurse say they called Meridian hospitals and 16
17   they said they couldn't do nothing for me; I was going to 17
18   have to go to Jackson to see a specialist. So that's when 18
19   they transferred me immediately to Jackson University. 19
20      Q. Let me ask you this question. Now, at the end 20
21   of the pursuit, you said you were not injured. You had no 21
22   injuries. You were fully conscious of what was going on; 22
23    correct?                                                  23
24      A. Correct.                                             24
25      Q. And once -- once your vehicle came to a stop, 25

                                                       Page 62                                                         Page 64

 1   your next action was what? Did you open the door and just  1              CERTIFICATE OF DEPONENT
 2   get out or did you stay in the car for a while or did they 2          I, Marquise Tillman, deponent in this
 3   tell you to get out?                                       3    deposition, hereby certify that I have examined the
 4     A. No, they -- I actually opened the passenger's         4    foregoing 63 pages and find them to contain a full, true,
 5   side of the car and got out with my hands in the air and   5    and accurate transcription of the testimony as given by me
 6   laid facedown on the ground.                               6    on August 20, 2021, in Louisville, Mississippi.
 7     Q. And no point did you crawl over the seat or           7    Page Line        Correction (If Any)
 8   reach for anything under the seat or anything like that?   8    ____   ____   __________________________________________
 9     A. Not at all.                                           9    ____   ____   __________________________________________
10     Q. The back seat or anything?                           10    ____   ____   __________________________________________
11     A. No, I jumped straight out the passenger's            11    ____   ____   __________________________________________
12   side -- opened the door, jumped straight out, hands up in 12    ____   ____   __________________________________________
13   the air and laid down on the ground.                      13    ____   ____   __________________________________________
14     Q. Okay.                                                14    ____   ____   __________________________________________
15           MR. SMITH: I have no other questions.             15           This the _______ day of ________________, 2021.
16           MS. MALONE: Okay. Again, I just want to put on 16
17       the record that I have not received plaintiff's       17                   _____________________________
18      responses to interrogatories or responses to requests 18                    MARQUISE TILLMAN
19       for production, and so anticipating that there's      19    State of Mississippi
20      going to be perhaps more sworn testimony and more 20         County of ____________
21       documents to come, I'm just going to leave this 21          Sworn to and subscribed before me, this the ________ day
22      deposition open should I need to question him about 22       of ________________, 2021.
23       those responses.                                      23                _____________________________
24           MR. SMITH: Okay.                                  24                NOTARY PUBLIC
25           THE REPORTER: What about reading and signing? 25        MY COMMISSION EXPIRES ____________

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                                                     Page 65
 1                  CERTIFICATE OF COURT REPORTER
 2            I, Kelly D. Brentz, Court Reporter and Notary
 3 Public in and for the County of Madison, State of
 4 Mississippi, do hereby certify that the foregoing 63
 5 pages, and including this page, contain a true and
 6 accurate transcription of the testimony of Marquise
 7 Tillman, taken by me in the aforementioned matter at the
 8 time and place heretofore stated, by stenotype and later
 9 reduced to typewritten form under my supervision by means
10 of computer-aided transcription.
11             I further certify that under the authority
12 vested in me by the State of Mississippi that the witness
13 was placed under oath by me to truthfully answer all
14 questions in this matter.
15           I further certify that I am not in the employ of
16 or related to any counsel or party in this matter and have
17 no interest, monetary or otherwise, in the final outcome
18 of this proceeding.
19           Witness my signature and seal this the 6th day
20 of September 2021.
21
22                         ________________________________
23                            KELLY D. BRENTZ, CSR #1518
24
25 My Commission Expires: February 1, 2023




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Clarke County, et al.

                          anonymous (1)              Avenue (1)               best (1)                 bruised (1)
           A                 17:11                     15:12                     4:18                    34:5
                          Anthony (16)               aware (1)                better (1)               brung (1)
able (3)                     16:7;19:21,24;20:13,      18:18                     4:21                    15:17
   41:10,21;59:5             14;22:7,10;23:3,5,15,   awkward (1)              bills (1)                brutality (1)
accident (14)                22;25:1,6,25;26:4;        38:2                      54:12                   42:6
   33:25;34:21;35:5,8,       58:23                                            Billy (4)                building (2)
   12,19;36:3,7,12,16;    anticipating (1)                       B               47:19,21,22,24          38:1,5
   37:17,21,25;49:25         62:19                                            Birmingham (4)           bunch (2)
according (1)             anymore (1)                back (34)                   53:9,17;54:13,15        8:10,12
   44:8                      34:19                     11:18;12:14,16;        birth (1)                bushes (1)
accurate (1)              Apartments (1)               15:13,15,16;19:7;         5:19                    36:11
   64:5                      15:18                     20:14,16,21;23:18;     bit (3)                  busted (1)
accuse (1)                appear (1)                   24:5,6,6;25:19,21;        21:2;32:22;42:3         19:7
   17:13                     50:3                      27:20;28:1;29:18;      bitch (4)
across (12)               Approximately (1)            31:22;32:3,4,7,15;        23:16,23;25:4,22                 C
   11:5,13,17,18,19,20;      10:1                      39:14;40:1,19;41:18; black (3)
   12:2;15:12,13;20:6;    AR-15 (2)                    52:25;56:9;61:7,7,15;     24:14;25:2;45:19      call (6)
   41:9;42:1                 17:14,15                  62:10                  blank (1)                  15:16,18;33:9;34:8,
action (1)                area (2)                   bad (7)                     40:18                   12;56:14
   62:1                      8:4;11:9                  26:13;27:3;30:15;      blows (1)                called (3)
actually (10)             arising (1)                  31:4;33:24,25;34:5        28:4                    11:15;61:15,16
   14:5;21:24;34:25;         54:18                   bail (1)                 blue (2)                 calling (1)
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